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              IN THE UNITED STATES DISTRICT COURT FOR THE

                       WESTERN DISTRICT OE OKLAHOMA                           FILED
                                                                               NOV 0 2 2021
 UNITED STATES OF AMERICA,                                                WRMELITA REEDER SHINN CLERK

                      Plaintiff,

               -vs-                              No.'   R                                   G
TRAMON ANTONIO BROWN,                            Violations: 18 U.S.C. § 922(g)(1)
                                                              18 U.S.C. § 924(d)
                      Defendant.                              28 U.S.C. § 2461(c)

                                   INDICTMENT

The Federal Grand Jury charges:

                                        COUNT 1
                           (Felon in Possession of a Firearm)

       On or about October 7, 2021, in Oklahoma City, Oklahoma, in the Western District

of Oklahoma,

                 -          TRAMON ANTONIO BROWN,—                    -                     -

with knowledge that he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a firearm, to wit: a

Taurus, model G3e,9x19mm caliber pistol, bearing serial number ACE919877, which was

in and affecting foreign and interstate commerce in that said firearm had previously
traveled from another state and country to reach the state of Oklahoma.

      All in violation of Title 18, United States Code, Section 922(g)(1), the penalty for
which is found at Title 18, United States Code, Section 924(a)(2).
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                                       FORFEITURE


        The allegations contained in this Indictment are hereby re-alleged and incorporated
for the purpose of alleging forfeiture.

        Upon conviction of the offense alleged in Count 1 of this Indictment, defendant
TRAMON ANTONIO BROWN shall forfeit to the United States any firearms and
ammunition involved in the commission ofthe offense listed.

        The property subject to forfeiture includes, but is not limited to:

               1.     Taurus, model G3c, 9x19mm caliber pistol, bearing serial number
                      ACE919877; and

              2.      any and all ammunition and magazines not specifically listed.
        All pursuant to Title 18, United States Code, Section 924(d), and Title 28, United
States Code, Section 2461(c).

                                               A TRUE BILL:




                                               FOREPERSON OF THE GRAND JURY


ROBERT J. TROESTER
Actina United States Attorney




Assis               tates Attorney
